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UNITED STATES BANKRUPTCY COURT NOV 28 2022

MIDDLE DISTRICT OF FLORIDA - TAMPA DIVISION gk, U.S, Bankruptey Court

Middle District of Florida

Tampa Division
FN RE: CASE NO.: 8:22-bk-02494-CPM

CHAPTER 13
JENNIFER KAY MARLOW AKA JENNIFER

MARLOW AKA JENNIFER KAYE MARLOW,

Petitioner-Debtor

OBJECTION TO ORDER DENYING
AMENDED MOTION FOR

RELIEF FROM

SUPPLEMENTAL ORDER
DISMISSING CASE WITH

PREJUDICE ON NOVEMBER

16, 2022

NEW PENN FINANCIAL LLC, D/B/A/
SHELLPOINT MORTGAGE SERVICING,

U.S. BANK TRUST NATIONAL ASSOCIATION
GMAC MORTGAGE LLC

Respondent

 

COMES NOW, JENNIFER KAY MARLOW, AKA JENNIFER MARLOW, Debtor, to file this
instant and timely Objection to this Court’s Order Denying Debtor’s Amended Motion for Relief from
Supplemental Order Dismissing Case With Prejudice on November 16, 2022.

The Debtor objects that findings of fact and conclusions of law can be left for a later date
on the legal issues and claims the Debtor stands on in her pro se pleadings and zoom court apearances
while an Order goes into effect with such a gap in its grounds for entry of the same.

The Debtor cannot sort out which issues to raise on a reconsideration motion, or on a
preliminary stay motion or on an appeal when findings of fact and conclusions of law
are delayed or set aside for a later date upon judicial discretion alone. The Debtor claims the Order is

an abuse of discretion.
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...”"In General Electric Co. v. Joiner, 522 U.S. 136 (1997), the Supreme Court held that abuse of
discretion standard is the proper standard to use when reviewing evidentiary rulings, inctuding whether
to admit or exclude expert testimony.

The abuse of discretion standard is also found in administrative law. 5 U.S. Code § 706(2)(a)
states that when a court is reviewing an administrative agency's decision, the decision will be set aside
when the decision was either “arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law.” In McLane Co., Inc. v. E.E.0.C., 581 U.S. (2017), the Supreme Court held that
the abuse of discretion review extends to an administrative court's decision to issue a subpoena.”

(ref) https://www.law.cormell.edu/wex/abuse_of discretion

As the Debtor proffered into evidence Senate document (43) from 1933, in the last zoom
session, wherein the U.S. Senate declared the ultimate ownership of all property is in the state... then
by the foreclosing party not producing the real-party-in-interest, i.e. the u.s. government; the
foreclosure judgment in the state court is voidable and void for want of the appearance of the real-
party-in-interest, inter alia.

For the presiding judge to refer to the U.S Senate’s ruling, Id., as mercly an historical document,
when it is on the most important federal government bankruptcy in the history of this country, this
Debtor finds cause for concern in this judge’s ability to determine the application of federal bankruptcy
law from an impartial viewpoint.

There should be a Stay granted, sua sponte’ by this Court for support of the supreme law of the
land, i.e. the u.s. constitution and its good behavior doctrine on judges since this Order, supra. Was
issued.

This Debtor has a right to appeal.

seve "Florida’s constitution creates the right to appeal orders of various kinds in art. V, §4(b)(1).
The party's right to appeal an order would be empty if orders and judgments could not be stayed
pending review, ......

A wide range of orders is subject to appellate review, and all those orders are subject to Rule
9.310. This includes final orders, the appealable nonfinal orders listed in Fla. R. App. P. 9.130, and

orders reviewable by way of petition for writ of certiorari, prohibition, or mandamus.”

(ref): https://www.floridabar.org/the-florida-bar-journal/the-stay-of-judgments-and-proceedings-in-
florida-state-courts/
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The credibility of the evidence proffered, supra., is at stake in this case.

Either there was a u.s. bankruptcy declared in 1933 or there was not. The u.s. government has not come
out of bankruptcy since 1933, and therefore this Debtor concludes the presiding judge in this case is on a private
mission; not a publicly supported mission; to grant relief to the Debtor for non appearance by the real-party-in -

interest due to the government’s ownership of all land in this county by reason of Senate document (43), supra.

THE U.S. SENATE RECORDED:
From the U.S. Senate Publication: Government Printing Office: SENATE RESOLUTION NO, 62
Submitted by Mr. Shipstead : IN THE SENATE OF THE UNITED STATES, April 17 (calendar day, April
24), 1933.:

....” The regulation of the value of coined money consists in fixing the classes of coins that shall be issued and a
standard of measurement of specie. Similarly, it is possibleto classify bills or notes issued or to

be issued and to declare the Government's promises as to their redemption and their receivability by itself in
governmental transactions or in the payment of debts. For some 70 years of the Government's existence
Congress acted under only one of these powers— that of coining money and regulating its value. Then it

acted upon the other power— that relating to currency. The exercise of these different powers resulted in two
kinds of national "money": (Sce Bronson v. R odes, supra). But they did not produce two kinds of money of
equal value— equal acceptability, equal purchasing power. Between 1862 and 1866 the premium on gold rose
and fell from 30 to 160 percent. (See Shollenberger v. Brinton (1866), 52 Pa. St. 9, 33.) If “money” is the
medium for effecting exchanges and is a measure of value, when the law made both specics and currency legal
tender, without actual cqual purchasing power, gold became a mere commodity or article of commerce (see Bank
of Commonwealth v. Van Vleck, supra.) since it had inherent valuc as a metal, while currency

had no inherent value, only conceptional value as ideal money. But a uniform medium of exchange is essential to
the commerce and prosperity of every civilized and commercial people. Money as such is of value, or is in
demand, not because it is more valuable than the quantity of property it will purchase, but because it readily can
be exchanged for any article. (Sce Brown v. Welch, supra). The existence of two kinds of money, lacking
uniformity of exchangeability, created an impossible situation, or, at least, a situation which tended

to nullify the purpase of the legal tender laws. Obviously, some law was necessary to integrate the currency and
legal tender laws. The enumerated power from which the power to pass such a law as the parity act may
bethought to be implied is, of course, the power to coin money and regulate its value. The end sought to be
accomplished is to maintain as "money" that which Congress expressly is empowered to coin, for that power is

to “coin money" and not merely to stamp coins. The parity act became necessary in order to maintain the
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circulation of specie as money and in order effectively to regulate the value of coined money. The end sought to
be accomplished by the parity act, therefore, is legitimate and within the scope of the Constitution. The parity act
is an appropriate means plainly adapted to the end in view, i.e., to standardize money for use

as a national medium of exchange. It is only by virtue of law that paper notes are money or fegal tender; and it is
only by virtue of law that cither coin or paper has a declared value; and only by virtue of law can coin and paper
be maintained at a parity in order to afford a proper medium of exchange. A parity law therefore is a necessary
complement to the currency laws.

The ultimate ownership of all property is in the State; individual so-called “ownership” is only by virtue
of Government, i.e. law, amounting to mere user; and use must be in accordance with law, and subordinate to the
necessities of the State. The fact that citizens, at a given time, may prefer specie to currency, or vice versa, can
not prevent Congress from enacting those laws which it deems necessary to the maintenance of a proper
monetary system. If the law makes specie and currency equivalent for purposes of payment, a failure to
pay a given sum in specie, according to contract, cannot possibly beget an obligation to pay a greater sum in
legal-tender notes, whatever premium men may choose to five for gold, when forced to obtain it for a specific

purpose, or when impelled by a spirit of speculation, or by a distrust of Government. (Brown v. Welch, supra.) .

Because the 1933 U.S. Bankruptcy is not recognized by this presiding Judge in an actual bankruptcy
court of law, this Debtor now considers her grounds to file a Motion to Disqualify this presiding Judge from this
case. Such motion would be the proper thing to do now, it appears.

The Debtor reserves the right to amend this Objection in any particular.

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Dated: November __ \ > , 2022 ‘All Rights Reserved”

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s/ A tye, Dee wl Lead ets
Co lL Jennifer Kay Marlow, Debtor, pro se
94 Tatum Rd
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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on this day, MM;

2022 a copy of the

foregoing was furnished electronically, EMAIL OR FAX or via first class mail

upon:

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